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Pro Sc 14 !Rcv.12116) Compluint ror Violllllon of Civil Ri11ht.1 (l'risoacr)

                       ocrcndant No. 3
                           Name
                           Job or Title (lfk11011•11)
                           Shield 1"umber
                           Employer
                                                                                 -N:-              ...

                           Address
                                                                               ;\\ IW-A½f\                  T 'If
                                                                               ~I       City                  State            Zip Code
                                                                               [3 lndividual capacity    O Offictal capacity
                       Defendant No. 4
                             Name
                             Joh or Title (1/know11J
                             Shield Number                                     - cl~ -
                             Employer
                             Address
                                                                                    lli~\-e.~                :=rt        ·1 C'\o~ d
                                                                               _/·        City                State            Zip Code
                                                                               G:}'Individual capacity   D Official capacity
II,         Basis fo1· Jurisdiction

           Under42 U.S.C. § 1983, you may sue state: or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws] ... Under Bi11e11~ 11. Six U11k11ow11 NamedAge11ts of
           Federal B11rea11 ofNarcolics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.          Arc you bringing suit against (check oil tlrot apply):
                       D Federal officials (a Bi11e11s claim}
                       [;}state or local officials (a§ 1983 claim)

            B.         Section 1983 allows claims alleging the "deprivation of any rights, priv!leges, or Immunities secured by
                       the Conslitution and [federal laws]." 42 U,S ,C. § 1983. If you are suing under section 1983, what
                       federal constitutional or statutory right(s) do you claim ls/arc being violated by state or local officials?




                      ArhcleJlI, fh:1,,\0;]1 ~,,J..,..t i ,15 , G.&"""'tl rJ2 1 kro"'..11,o, 'fl,'llo'(tj,, Ly1~
            C.         Plaintiffs suing under Bl11e11s may only recover ror the violation of certain constltuttonal rights. If you
                       arc suing under Bivens, what constitutional right(s) do you claim is/nre being violated by federal
                       officials?
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1'10 Sc 14 IRev. 12/161 Camplaln1 for Violation arc1vn Ri!ll11S CPrl,or.cr)




           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, er usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you arc suing under section 19S3, eKpleln how each defendant acted under color
                      of state or local law. Jfyou ere suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.




Ill,

            Indicate whether you are a prisoner or other confined person as follows (c/11,k all tlrat apply):

          •          Pretrial detainee

          •            Civilly_ committed detainee

          •            linmlgratlon detainee

          •            Convicted and sentenced state prisoner



           ~
                       Convicted and sentenced fedeml prisoner

                       Other (uplafn)              J1-a1e hJ£, V&1/ ~eM- c.lzenf . rwen+/J11ont~kd '. ckn-l '®W 8/aluf.
                                                                               7

JV,       Statement ofClalm

          Slate as briefly as possible the facts of your case. Describe how each defendant was personally involved In the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such es the names of other persons involved In lhe events giving rise to your claims. Do not cite
          any cases or statutes. (fmore than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach addition el pages if needed.

           A.          If the events giving rise to your claim arose outside an Institution, describe where and when they arose,




           B.          If the events giving rise to your claim arose In an Institution, describe where and when they arose.



                         , . . 5-JI; I;- J~;;.1,, ti-JJ-J.11 [p-/1-J.~/d'dJitlJ 1-1-cl/ 1 1-/J.-;;.,f,1-1-21/1-6-JI
                           Jpe, uh~tc, trfCVje} J;J.O(j f.ictbtr C'7AtC                          p3~c~orll
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Pro Sc 14 (Rev. 12/16) Complain! for Violnd1111 orCMI Ri11hu CPrisonerl


         C.          What date and approximate time did the events giving rise to your claim{s) occur?




         D.          What are the facts underlying your clalm(s)? (For e."tample: Whal happened to yo11? Who did w/rat?
                     Was anyone else involved? Who else saw what l,appe11ed?)




v.




VI.

          State briefly what you want the court to do for you. Make no lcgnl arguments. Do not cite any cases or statutes.
          If requesting money damages, Include the amounts of any actual damages and/or punitive damages claimed for
          the acts alleged. EKplain the basis for these claims.




                                                                                                                    Pa;cSof II
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P,o Sc: 14 (Rcv.12/llllComplainl f:rViolMlanarclvn Rlpbu(Prisor.crl


Vll,     Exhaustion of Administrative Remedies Administrotlve Procedures

        The Prison Litigation Refonn Act (''PLRA "), 42 U.S.C. § 1997e(a), requires that '1n]o action shall be brought
        with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
        In any Jatl, prison, or othe1· correctional facility until such administrative rcmedi=s as are available arc
        exhausted."

         Administrative remedies arc also known as grievance procedures. Your case may be dismissed if you have not
         ei.:hausted your administrative remedies.

         A.         Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?
                    G:;Yves
                    0No

                    If yes, name the jail, prison, or other correctional facility where you were confined at the lime or the
                    events giving rise to your claim(s).




         B.         Does the jail, prison, or other correctional facility where your claim(s) arose have a. grievance
                    procedure?

                    efves
                    0No
                    D Donotknow
         C.         Docs the grievance procedure at thcjo.11, prison. or other correctional facility where your clnim(s) arose
                    cover some or all of your claims?

                    •      Yes
                    Orio
                    ~onotknow

                    lfyes, which cla.im(s)?




                                                                                                                         P35t6or II
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PrD Sc 14 {Rcv. 12/161 Complaint (Dr Violation Df Clvll Rinhu CPrisonerl



         D.          Did you tile a grievance in the jail, prison, or other correctional facility where your clalm(s) arose
                     concerning the fo.cts relating to this complaint?
                     g(es
                     If no, did you tile a grievance about the events described in this complaint at any other jail, prison, or
                     other correctional facility?

                     Oves
                           /
                     t2\No
         E.          lfyou did tile a grievance:

                      I.       Where did you file the grievance?



                                                                                                       \
                               ~cl(Tu\A, J \\c1er\:'l,S Cow~~~             s\w.n·rl Cffi:c.2, XR rJl ):clro
                     2.        What did you claim In your grievance?




                                 J\bn2., Y¼ f,11\'( . \/\('D) SfbW✓ \-e M } 1:£?p6r\pf. 00 lt1~sl Ms t\t0V c~
                                 v-1\\er) '\l'v\)t,S~(\                                          '                                   I

                      4.       What steps, If any, did you take to appeal that decision? Is the grievance process completed? If
                               not, e.xplaln why not. (Dascribe all efforts to appeal to tha highest level ofthe grievance process.)




                                                                                                                             Pngc7 or 11
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Pro Sc 14 (Rev 1:!/16\ CG111ploint for Vlol~llon orCMI Rielits (Prisoner)


          F.          Ifyou did not file a grievance:

                      I.    If there are any reasons why you did not tile a grievance, state them here:




                      2.    If you did not file a grievance but you did inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




         G.           Please set rorth any additional inronnalion that is relevant to the exhaustion of your administrative
                      remedies.




                      (Note.• You may attach as exhibits 10 this comp/ 111 any doc11ments related to the e:r:'1a11stfo11 ofyo111·
                      ad111f11Jstrat/\le remedies.)

VIII, Previous Lawsults

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal In federal court without paying
          the filing fee if that prisoner has "on three or more prior occasions, while Incarcerated or detained in any factlity,
          brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
          malicious, or fails to stute a claim upon which relief may be granted, unless the prisoner is under imminent
          danger of serious physical injury." 28 U.S.C, § 191S(g),

          To the best of your knowledge, have you had a cnsc dismissed based on this "three strikes rule"?




          [f yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




                                                                                                                             Pases or II
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                     A.          Have you filed other lawsuits In state or federal court dealing with the same facts Involved In this
                                 action?

                                 0 Yes
                                 (],-No

                    B.           If your answer to A is yes, describe each lawsuit by answering questions l through 7 below. (If there fs
                                 more than one laivnu't, describe the additional laws11lrs on another page, 11si11g tlle sama/ormal.)

                                 I.    Parties to the previous lawsuit
                                       Plaintiff(s)        ........
                                       Defend ant(s)        ----J.~~----------------------
                                 2.    Court (iffederal co11rt, name the district: ifstate cor11·1, name tire county and State)


                                 J.    Docket or index number
                                             - J'Vb.~
                                 4. Name of :ud~e assigned to your case
                                             ~      \"'I ~             :---
                                 5.    Approximate date of filing lawsuit
                                               ·-~~
                                 6.    Is lhe case still pending?

                                      Ovcs.
                                      g{.
                                        If no, give the approximate date of disposition.

                                 7.    What was the result of the case? (For example: Was tire case dismissed? Wasj11dgine11t e111e1·ed
                                       in your favor? Was the case appealed?)




                     C,          Have you filed other lawsuits in state 01· federal court otherwise relating to the conditions of your
                                 Imprisonment?


                                                                                                                                        P~ge9or II
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Pro Se 14 (Rev. 12/16} Compla,nl for Viol:11ion of Civil Rh!hts (Prisoner}

                     CiY'vcs

         D.           If your answer to C is yes, describe each lawsuit by answering questions I through 7 below. {I/there fs
                      more thm1 011'1 lawsuft, describe the additional lawsuits an another page, using the same format.)

                      I.    Parties to the previous lawsuit
                            Plaintiff{s) (' •rA{J.lf°illS f gQJ} G-1~\~
                                 nd
                            Defe ant(s)                   j, lb
                                            ~o PC\Sit }f,K(bS ro.,ns"ttwao J T             c'€1\4€'.C, E(:C,, Al I
                      2.    Court (iffederal court, name the district; ifs/ate com·t, name the co1111ty and State)
                                                                  \

                                   ~01vde/\11----l.T.£::.t~-----------
                      3.    Docket or index number



                      4. Name of Judge assigned to your case



                      5. Approximate date of filing lawsuit
                                  4,odl 1 a,        ~,I

                      6.    Is the case still pending?

                           Oves.

                           ~
                            If no, give the approximate date of disposition

                     7.     What was the result of the case? (For example: Was the case dismissed? Was judgment e11te1•f1d
                            in yow·favor? Was the case appealed?)




                                                                                                                     Pase 10 of II
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     IX.       Ccrtltlcatlon and Closing

              Under Federal Rule of Civil Procedure I I, by signing below. I certify to the best ofmy knowledge, information,
              and bellefthat this complaint: (I) Is not being presented for an improper purpose, such as to harass, cause
              UMecessacy delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
              non frivolous argument for extending, modifying. or reversing existing law; (3) the factual contentions have
              cvidcntia,y support or, If specifically so identified, will likely have evidcntia,y suppo11. after a reasonable
              opportunity for further investigation or discove1-y; and (4) the complaint otherwise complies with the
              requirements of Rule 11.


               A.           For Parties Without an Attorney

                           I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                           served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                           In the dismissal ofmy case.

                           Date of signing:


                           Signature of Plaintiff
                           Printed Name of Plaintiff
                           Prison Identification #
                           Prison Address

                                                                                   Cil)I                          Zip Code

               B,          For Attorneys

                           Date of signing:


                           Signature of Attorney
                           Printed Name of Attorney
                            Bar Number
                                                                      - -----------
                            NamcorLaw Firm
                           Address

                                                                                   Cil}J           Stale          Zip Code
                            Telephone Number
                            E-mail Address




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